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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                        :
LUIS GALVEZ
                                        :

     v.                                 :     Civil Action No. DKC 10-0128
                                              Criminal No. DKC 07-0135
                                        :
UNITED STATES OF AMERICA
                                        :

                              MEMORANDUM OPINION

     Presently    pending     and     ready   for   resolution     is   a    motion

filed by Petitioner Luis Galvez to vacate, set aside, or correct

his sentence.      (ECF No. 215).           The relevant issues have been

briefed and the court now rules pursuant to Local Rule 105.6, no

hearing being deemed necessary.               For the reasons that follow,

the motion will be denied.

I.   Background

     On July 7, 2008, Petitioner was convicted, upon his guilty

plea, of conspiracy to distribute and possess with intent to

distribute five or more kilograms of cocaine, and sentenced to a

term of imprisonment of seventy months.             He did not appeal.

     On January 19, 2010, the court received for filing the

pending motion pursuant to 28 U.S.C. § 2255 in which Petitioner

contends   that   he   is     being    deprived     of   his   right    to   equal

protection because, due to his status as non-citizen of the

United States, he has been unable to participate in Bureau of
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Prison programs through which he might otherwise have obtained a

“year reduction of sentence through a drug program” or placement

in a “halfway house . . . pursuant to 18 USCA [§] 3583(d).”

(ECF No. 215, at 5, 6, 8).                   The government was directed to

respond, and did so on January 19, 2010.                  (ECF No. 217).

II. Standard of Review

       To    be     eligible    for    relief    under       28   U.S.C.     §   2255,    a

petitioner must show, by a preponderance of the evidence, that

his “sentence was imposed in violation of the Constitution or

laws    of    the      United   States,     or   that    the      court    was    without

jurisdiction to impose such sentence, or that the sentence was

in   excess       of   the   maximum     authorized     by    law.”        28    U.S.C.   §

2255(a).      A pro se movant, such as Petitioner, is entitled to

have his arguments reviewed with appropriate consideration.                             See

Gordon v. Leeke, 574 F.2d 1147, 1151-53 (4th Cir. 1978).                           But if

the § 2255 motion, along with the files and records of the case,

conclusively shows that he is not entitled to relief, a hearing

on the motion is unnecessary and the claims raised in the motion

may be dismissed summarily.              28 U.S.C. § 2255(b).

III. Analysis

       The government argues that the Petitioner’s motion should

be summarily dismissed because (1) it was untimely filed, (2) §

2255 does not provide a basis for relief, and (3) the underlying



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claim is nevertheless without merit.                           All three arguments are

persuasive.

       Pursuant to 28 U.S.C. § 2255(f), a federal prisoner must

file a motion to vacate, set aside, or correct his sentence

within one year of the latest of the following dates:

                   (1) the date on which the judgment of
              conviction becomes final;

                   (2) the date on which the impediment to
              making a motion created by governmental
              action in violation of the Constitution or
              laws of the United States is removed, if the
              movant was prevented from making a motion by
              such governmental action;

                   (3) the    date   on   which the   right
              asserted was initially recognized by the
              Supreme Court, if that right has been newly
              recognized by the Supreme Court and made
              retroactively    applicable    to cases    on
              collateral review; or

                   (4) the    date  on   which the facts
              supporting the claim or claims presented
              could have been discovered through the
              exercise of due diligence.

       Where,       as    here,      a     defendant         does    not       pursue    direct

appellate review, his conviction becomes final when the appeal

period lapses following the entry of judgment.                                See McKinnon v.

United States, Civ. No. CCB-12-179, Crim. No. CCG-08-049, 2012

WL 2564723, at *1 (D.Md. June 29, 2012) (citing United States v.

Wilson,       256    F.3d     217,        221    (4th    Cir.       2001)      (Michael,      J.,

concurring)).            At the time of Petitioner’s conviction, he would

have    ten    days      in   which      to     note    an   appeal     under     Fed.R.App.P

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4(b)(1)(A)(i).1             Thus, Petitioner’s judgment of conviction became

final on July 17, 2008 – ten days after judgment was entered on

July 7.       The one-year limitations period, therefore, expired on

or about July 18, 2009, and his § 2255 petition, filed on or

about January 19, 2010, is untimely by approximately six months.

       A § 2255 petitioner may be entitled to equitable tolling

upon       showing     “(1)        that     he    has    been    pursuing         his   rights

diligently, and (2) that some extraordinary circumstance stood

in his way and prevented timely filing.”                        Holland v. Florida, --

- U.S. ----, 130 S.Ct. 2549, 2562 (2010); see also United States

v. Prescott, 221 F.3d 686, 688 (4th Cir. 2000) (equitable tolling

should be “sparingly granted”).                         Petitioner suggests that his

motion was untimely because he was in transit from July 25,

2008, until August 3, 2009, and that he was not aware of the

grounds of his motion until arrival at his current place of

confinement.           The court declines to recognize these assertions

as grounds for equitable tolling.                       Petitioner’s status as a non-

citizen and the effect on eligibility for programming were known

circumstances          at    the    time     of   sentencing,      and      his    subsequent

movement did not preclude the timely filing of his motion.                                 See

United States v. Anderson, 238 F.3d 415, 2000 WL 1781614 (4th

Cir.       Dec.   5,    2000)       (Table)       (“transfer     among      various      penal


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       This rule was amended in 2009 to provide fourteen days in
which to file a notice of appeal.
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institutions does not present the ‘rare instance’ when ‘it would

be unconscionable to enforce the limitation period against the

party    and   gross    injustice       would    result’”      (quoting       Harris      v.

Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000)); Sarvis v. United

States, Civ. No. 4:11-70097-TLW, Crim. No. 4:06-1241-TLW, 2012

WL    112293    (D.S.C.    Jan.      11,    2012)      (“[t]he      mere     fact       that

Petitioner was ‘in transit’ during periods of his incarceration

. . . is certainly not exceptional”).

        Moreover,   the    grounds      raised    in     Petitioner’s        motion     are

cognizable only pursuant to 28 U.S.C. § 2241.                            See Popeck v.

United States, Civ No. PJM 10-2777, Crim. No. PJM 09-0149, 2011

WL 3512000, at *3 n. 2 (D.Md. Aug. 9, 2011) (“it has been

persuasively held elsewhere than an equal protection challenge

to an alien’s eligibility for prison programs and the like . . .

is not a ground for relief under 28 U.S.C. § 2255, but should be

presented      in   a   habeas     corpus       petition     under       section    2241”

(quoting United States v. Recinos-Gallegos, 151 F.Supp.2d 659,

660   (D.Md.     2011)).       A    §    2241     petition      must      name     as   the

respondent “the person who has custody” and must be filed in the

district of confinement.             28 U.S.C. § 2242.                  At the time of

filing, Petitioner was incarcerated at Adams County Correctional

Institution in Natchez, Mississippi.                   Thus, the warden of that

facility, rather than the government, was the proper respondent,



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and   the    motion   should   have   been   filed   in   the   United   States

District Court for the Southern District of Mississippi.

      Even    if   the   motion   had   been   properly     denominated       and

addressed, however, it would likely fail on the merits because

no court has held that the Equal Protection Clause is violated

by the Bureau of Prisons treating those with detainers – due to

their status as illegal aliens or otherwise – differently for

purposes of programming eligibility.           As the United States Court

of Appeals for the Fifth Circuit recently explained:

             [A]lien prisoners with ICE detainers, such
             as   [the   petitioner],   cannot   show   that
             exclusion from rehabilitation programs, or
             from halfway house placement, establishes
             that alien prisoners, as an identifiable
             group, are being treated differently from
             other similarly situated prisoners who are
             not aliens.     See McLean v. Crabtree, 173
             F.3d 1176, 1185 (9th Cir. 1999).       This is
             true because, on its face, the statute and
             regulations classify prisoners – not as
             aliens and non-aliens – but as those who
             have ICE detainers against them and those
             who do not. Id. [The petitioner] points to
             no evidence that the exclusion is motivated
             by discriminatory intent against aliens.
             Instead, [the petitioner] has only shown
             that the BOP regulations require [that]
             “prisoners    with   detainers   be[]   treated
             differently      from     prisoners     without
             detainers.” Id.

Gallegos-Hernandez v. United States, 688 F.3d 190, 195-96 (5th

Cir. 2012); Adams v. Apker, 148 Fed.Appx. 93, 95-96 (3d Cir.

2005) (“Prisoners who are ineligible to participate in these

programs include non-aliens as well as aliens”); United States

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v. Recinos-Gallegos, 151 F.Supp.2d 659, 660 (D.Md. 2001) (citing

United States v. Acevedo, 246 F.3d 682, 2001 WL 280485 (10th Cir.

2001)); see also Ruiz-Perales v. United States, 2012 WL 4740460,

at *2 (S.D.Cal. Oct. 3, 2012) (“In the context of early-release

drug    program   eligibility       benefits,     deportable        aliens   are    not

similarly     situated   to     United    States   citizens      because     citizen

inmates must re-enter domestic society while deportable inmates

are denied that privilege”); but see Patel v. Napolitano, ---

F.3d ----, 2013 WL 285711, at *6 (4th Cir. 2013) (recognizing the

right of an inmate to “petition[] the Federal Bureau of Prisons

to . . . challeng[e] the basis for drawing . . . a distinction

among inmates” related to programming eligibility).

IV.    Conclusion

        For the foregoing reasons, the motion to vacate, set aside,

or correct sentence pursuant to 28 U.S.C. § 2255 will be denied.

        Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. §§ 2254 or 2255, the court is also required to

issue or deny a certificate of appealability when it enters a

final    order    adverse     to    the   petitioner.        A      certificate      of

appealability is a “jurisdictional prerequisite” to an appeal

from the court’s order.            United States v. Hadden, 475 F.3d 652,

659 (4th Cir. 2007).          A certificate of appealability may issue

“only if the applicant has made a substantial showing of the

denial of a constitutional right.”                  28 U.S.C. § 2253(c)(2).

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Where the court denies a petitioner’s motion on its merits, a

prisoner       satisfies      this     standard        by       demonstrating          that

reasonable     jurists     would     find   the   court’s        assessment       of   the

constitutional claims debatable or wrong.                       Slack v. McDaniel,

529 U.S. 473, 484 (2000); see also Miller-El v. Cockrell, 537

U.S.    322,   336-38    (2003).        Where     a    motion      is    denied    on     a

procedural ground, a certificate of appealability will not issue

unless the petitioner can demonstrate both “(1) that jurists of

reason would find it debatable whether the petition states a

valid claim of the denial of a constitutional right and (2) that

jurists of reason would find it debatable whether the district

court was correct in its procedural ruling.”                       Rose v. Lee, 252

F.3d 676, 684 (4th Cir. 2001) (internal marks omitted).

       Upon    its   review     of   the    record,       the    court     finds       that

Petitioner does not satisfy the above standard.                        Accordingly, it

declines to issue a certificate of appealability.

       A separate order will follow.



                                                _________/s/________________
                                                DEBORAH K. CHASANOW
                                                United States District Judge




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